EXHIBIT 25
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DORRELIEN FELIX and MARGALY FELIX,                                 DEFENDANTS'
individually, and JONATHAN C. MOORE, as                            RESPONSES AND
Administrator of the ESTATE OF DAVID FELIX,                        OBJECTIONS TO
                                                                   PLAINTIFF'S'FIRST SET
                                                    Plaintiffs,    OF MONELL
                                                                   INTERROGATORIES,
                          -against-                                DEMANDS FOR
                                                                   PODUCTION OF
THE CITY OF NEW YORK, a municipal entity;                          DOCUMENTS TO CITY
HAROLD CARTER and VICENTE MATIAS, individually                     DEFENDANTS
and in their offrcial capacities as New York City Police
Detectives; the BRIDGE INC., a domestic not-for-profit              16 Civ. 5845 (AJN)
organization; and JANE DOE (as of yet unidentified
ernployee of the BRIDGE),

                                                  Defendants



               Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure,

Defendants City of New York, Harold Carter and Vincente Matias, by their counsel Zachary W.

Carter, Corporation Counsel of the City of New York, respond and object to Plaintiffs' First Set

of Monell Interrogatories and Requests to Produce as follows:

                                      GENERAL       ATEMRNT

               1. By responding to any request, Defendants do not concede the materiality of
the subject to which it refers. Defendants' responses are made expressly subject to, and without

waiving or intending to waive, any questions or objections as to the competency, relevance,

materiality, privilege or admissibility as evidence or for any other purpose, of any of the

documents or information produced, or of the subject matter thereof, in any proceeding including

the trial of this action or any subsequent proceeding.
               2. Defendants object to these Interrogatories and Requests to Produce to the
extent that they demand documents and/or information that are protected by the attorney-client

or work-product privilege, or which constitute material prepared for litigation purposes.

               3. Inadvefient production of any document or information which is privileged,
was prepared in anticipation of litigation, or is otherwise immune from discovery, shall not

constitute a waiver of any privilege or of any other ground for objecting to discovery, with

respect to that document or any other document, or its subject mattet, or the information

contained therein, or of Defendants' rights to object to the use of any such document or the

information contained therein during any proceeding in this litigation or otherwise.

               4. Defendants object in the entirety to any request for information or production
from entities not represented by the Corporation Counsel of the City of New York.

               5. Defendants object to any request for information that is not in their
possession, custody or control.

               6. Defendants object to these intenogatories under Rule 33(a)(1) of the Federal
Rules of Civil Procedure to the extent they exceed twenty-five in number including all discrete

subparts.

               7. Defendants object in the entirety to these Interrogatories and Requests to
Produce to the extent that they seek to impose obligations upon Defendants beyond that which is

required under the Federal Rules of Civil Procedure.

               8. Defendants continuously object in the entirety to any request for information
concerning the police department that is not relevant to the subject matter of this lawsuit.




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                   9. Defendants further object in the entirety to the interrogatories to the extent
that they seek the home address of individuals identified by the Defendants in response to the

Interrogatories.

                   10. Defendants are continuing to search for information responsive to plaintifPs

requests and therefore reserve the right to supplement their responses to each request with

additional information, if and when such information becomes available to Defendants' counsel.

Defendants also reserve the right to object to the future disclosure of any such information.

                                        INTERROGATORIES

INTERROGATORY NO. 1:

                   Identify the trainings and/or courses required for all recruits and any changes to

the same, that reference, discuss or train recruits about EDPs.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 1:

                   Defendants object to the extent Interrogatory No. 1 seeks information that is not

relevant to any claim or defense nor proportional to the needs of the case insofar as the only

remaining claims against the City pertain to an alleged lack of training in place at the time of the

underlying incident. Notwithstanding and without waiving, or in any way limiting these

objections and the General Objections, Defendants state that all recruits are currently required to

receive training about EDPs in the police academy and via CIT training which occurs at least 6

months after arecruit graduates from the police academy. Defendants further refer plaintiffs to

the documents bearing Bates Nos. DEF 9694 to DEF 12399 for responsive information regarding

the specifics of this training as well as the documents previously produced bearing Bates No.

DEF 3184 to DEF 8752 for purposes of identifying any changes to same.




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INTERROGATORY NO. 2:

                Identify the trainings andlor courses required for all recruits, and any changes to

the same, that reference, discuss, or train recruits about the use of force on EDPs.

oBJECTION ANp RESPONSE TO TNTERROG.{TORY NO. 2:

                See Objection and Response to Interrogatory No. l.

INTERROGATORY NO.3:

                Identify all in-service trainings and/or courses, and any changes to the same, that

reference, discuss, or train officers related to EDPs.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 3:

                Defendants object to the extent Interrogatory No. 3 seeks information that is not

relevant to any claim or defense nor proportional to the needs of the case insofar as the only

remaining claims against the City pertain to an alleged lack of training in place at the time of the

underlying incident. Notwithstanding and without waiving, or in any way limiting these

objections and the General Objections, Defendants state that members of service who graduated

from the police academy prior to June of 2075 are required to receive CIT training. Defendants

fuither refer plaintiffs to the documents bearing Bates Nos. DEF 9694 to DEF 12399 for

responsive information regarding the specifics of this training as well as the documents

previously produced bearing Bates No. DEF 3184 to DEF 8752 for purposes of identifying any

changes to same.

INTERROGATORY NO. 4:

               Identify all in-service trainings and/or courses, and any changes to the same, that

reference, discuss, or train officers related to the use of force on EDPs.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 4:

               See Objection and Response to Intenogatory No. 3.


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INTERROGATORY NO. 5:

                Identify all in-service trainings and/or courses, and any changes to the same, that

reference, discuss, or train supervisory officers related to EDPs.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 5:

                See Objection and Response to Interrogatory No. 3. Additionally, Defendants

object on the grounds that no supervisory members of service were involved in the underlying

incident.

INTERROGATORY NO. 6:

                Identify all in-service trainings and/or courses, and any changes to the same, that

reference, discuss, or train supervisory officers related to the use of force on EDPs.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 6:

                See Objection and Response to Interrogatory No. 5.

INTERROGATORY NO. 7:

               Identify all in-service trainings and/or courses taken by the Defendant Officers

since the NYPD Training Academy to present.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 7:

               Without waiving, or in any way limiting the General Objections, Defendants refer

plaintiffs to the documents bearing Bates Nos. DEF 12400 to DEF 12411.

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               Identify the status of any NYPD Crisis Intervention Team trainings through the

present including, but not limited, to:

               (a) The syllabus for the CIT trainings;

               (b) Identification or selection of officers who receive the CIT trainings;

               (c) The instructors of the CIT trainings; and
                (d) Information or documents used in the CIT trainings.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 8:

                Defendants object to the extent Interrogatory No. 8 seeks information that is not

relevant to any claim or defense nor proportional to the needs of the case insofar as the only

remaining claims against the City pertain to an alleged lack of training in place at the time of the

underlying incident and on the grounds that neither of the Defendants received CIT training.

Defendants further object to the extent this request is vague insofar as it seeks the "status" of any

CIT training.

                Notwithstanding and without waiving, or in any way limiting these objections and

the General Objections, Defendants state that members of service who graduated from the police

academy prior to June of 2015 are required to receive CIT training and the decision regarding

who in that pool receives this training when is made individually on the Borough level.

Defendants further refer plaintiffs to the documents bearing Bates Nos. DEF 9694 to DEF 12399

for responsive information regarding the information or documents used in CIT trainings.

INTERROG TORY NO. 9:

                Identify the existence of any internal investigations related to officer treatment of

EDPs from 2010 to the present.

OB.IECTION AND RESPONSE TO INTF:,RROGATORY NO. 9:

                Defendants object to the extent Interrogatory No. 9 seeks information that is not

relevant to any claim or defense nor proportional to the needs of the case insofar as the only

remaining claims against the City pertain to an alleged lack of training in place at the time of the

underlying incident. Defendants further object to the extent this request is vague insofar as it

seeks the identity of "any internal investigations related to officer treatment of EDPs" which is

significantly overbroad. Defendants further state that complying with this request would be

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extremely burdensome and on the grounds that it seeks information that is subject to privilege,

implicates the privacy interests of those involved and to the extent it implicates the sealing

provisions of HIPAA and New York Criminal Procedure Law $$ 160.50, 160.55, and/or New

York Family Court Act $ 375.1. Last, Defendants object to the extent seeks the identity of

investigations that post-date the underlying incident and which may be ongoing.

Notwithstanding and without waiving, or in any way limiting these objections and the General

Objections, Defendants refer plaintiffs to documents bearing Bates Nos. DEF 12412 to DEF

12413 which consist of a list of the Force Investigation Division's closed investigations related

to EDP incidents up through August of 2018.r Defendants note that this list is not limited to

those instances that resulted from police action as it also includes instances, for example, that

involve potential'Jumpers" classified as EDPs where police respond after the fact.

INTERROGATORY NO. 10:

                 Identify all documents or information related to assigning CIT training to officers

or assigning ClT-trained officers to mental health crisis incidents including, but not limited to,

the number of officers assigned

OBJECTION AND RESPONSE TO INTERROGATORY NO. 10:

                 Defendants object to the extent Interrogatory No. 10 seeks information that is not

relevant to any claim or defense nor proportional to the needs of the case insofar as the only

remaining claims against the City pertain to an alleged lack of training in place at the time of the

underlying incident and on the grounds that neither of the Defendants received CIT training nor

was it in place at the time of the underlying incident.




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    This document was redacted only insofar as it was initially obtained as part of another action.


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               Notwithstanding and without waiving, or in any way limiting these objections and

the General Objections, Defendants state that all recruits are curuently required to receive

training about EDPs in the police academy and via CIT training which occurs at least 6 months

after a recruit graduates from the police academy. Defendants further state that members of

service who graduated from the police academy prior to June of 2015 are required to receive CIT

training and the decision regarding who in that pool receives this training when is made

individually on the Borough level. Defendants further refer plaintiffs to the documents bearing

Bates Nos. DEF 9694 toDEF 12399 for responsive information.

INTERROGATORY NO. 11:

               Identify any individuals, organizations, or police forces that the NYPD consulted

with regarding instituting a CIT training program.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 11:

               Without waiving, or in any way limiting the General Objections, Defendants refer

plaintiffs to the OIG Report entitled "Putting Training Into Practice: A Review Of NYPD'S

Approach To Handling Interactions With People In Mental Crisis" available at

https://www1.nyc.gov/assets/oignypd/downloads/pdf/ReportsiClT_Report_01 192017 .pdf.

INTERROGATORY NO. 12:

               Identify any data on the number of calls received by the NYPD involving people

in mental crisis or deemed EDPs.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 12:

               Without waiving, or in any way limiting the General Objections, Defendants

provide the following data obtained via the NYPD Statistical Unit regarding the amount of EDP

calls received by the NYPD:

              2010   - 104,681;
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               20lt - 108,146;

               2012 - 1t7,378;

               20t3 - 125,123;

               2014   - t31,476;
               2015 - 150,419;

               20t6 - 162,705;

               20t6 - 162,705;

               2017 - 182,068; and

               2018   - 136,652 (from January 7,2018 through September 20,2018).
                                   REQUESTS TO PRODUCE

DOCUMENT REOUEST NO. 1:

               All documents relied upon in answering the foregoing interrogatories.

OBJECTION AND RESPONSE TO DOCUMENT REOUEST NO. 1:

               Defendants refer plaintiffs to their responses to the foregoing Interrogatories.

DOCUMENT REOUEST NO. 2:

               All documents related to EDPs and EDP training at the NYPD.

OBJECTION AND RESPONSE TO DOCUMENT REQUEST NO. 2:

               Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request, as phrased, is vague insofar as it

seeks all documents "related" to EDPs as well as overboard and burdensome for that reason and

since it is not limited in time. Notwithstanding and without waiving, or in any way limiting

these objections and the General Objections, Defendants refer plaintiffs to the documents bearing


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Bates Nos. Defendants further refer plaintiffs to the documents bearing Bates No. DEF 3184 to

DEF 8752 and DEF 9694 to DEF 12399.

DOCUMENT REQUEST NO. 3:

               All internal memoranda concerning EDPs and EDP training at the NYPD.

OBJECTION AND RESPONSE TO DOCUMENT REQUEST NO.3:

               Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request, as phrased, is vague insofar as it

seeks all "internal memoranda concerning EDPs and EDP training," is overboard and

burdensome. Defendants also object to the extent this request seeks materials protected by the

attorney-client andlor work-product and/or deliberate process and/or law enforcement privileges.

DOCUMENT REQUEST NO. 4:

               Training materials for recruit training related to EDPs from 2010 through the

present.

OBJECTION AND RESPONSE TO DOCUMENT REOUEST NO. 4:

               See Objection and Response to Interrogatory No. 3 for responsive information.

DOCUMENT REOUEST NO. 5:

               Training materials for in-service training related to EDPs from 2010 through the

present.

OBJECTION AND RESPONSE TO DOCUMENT RBQUEST NO. 5:

               See Objection and Response to Interrogatory No. 3 for responsive information.




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DOCUMENT REQUEST NO. 6:

               All documents, reports, interdepartmental memos, e-mails, andlor other
documents related to the number of NYPD encounters with individuals deemed EDPs or in

mental health crisis.

OBJECTION AND RESPONSE TO DOCUMENT REOUEST NO. 6:

               Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request is vague insofar as it seeks

materials "related to the number of NYPD encounters with individuals deemed EDPs or in

mental health crisis," overboard and burdensome. Defendants also object to the extent this

request seeks materials protected by the attorney-client andlor work-product and/or deliberate

process andlor law enforcement privileges. Notwithstanding and without waiving, or in any way

limiting these objections or the General Objections, Defendants refer plaintiffs to their

Objections and Responses to Interrogatory Nos. ll and 12.

DOCUMENT REOUEST NO. 7:

               For the period of 2010 through the present, all memoranda, guidelines, ESI,

directives, policy statements, procedures, training materials, and any other documents, in any

form and of any type, concerning the City's policies, practices, and/or procedures for:

               (a) EDPs generally;

               (b) The use of force on EDPs;

               (c) The determination as to whether an individual is, or should be deemed, an

                   EDP;

               (d) Assigning ClT-trained officers to mental health crisis incidents;

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                (e) Handling or responding to an EDP or a person in a mental health crisis;

                (f) Supervisory responsibilities related to EDPs;
                (g) Discipline for officer mistreatment of EDPs; and

                (h) Discipline for failing to properly follow procedure related to EDPs.

OBJECTION AND RESPONSE TO DOCUMENT REQUEST NO. 7:

                Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request is vague, overboard and
burdensome. For example, it calls for documents related to supervisors when no supervisory

members of service were involved as well as documents pertaining to discipline even though no

remaining claim corresponds to that issue. Defendants also object to the extent this request seeks

materials protected by the attorney-client and/or work-product and/or deliberate process and/or

law enforcement privileges. Notwithstanding and without waiving, or in any way limiting these

objections or the General Objections, Defendants refer plaintiffs to the documents Bearing Bates

Nos. No. DEF 3184 to DEF 8752 andDEF g6g4to DEF 12399.

DOCUMENT REOUEST NO. 8:

               All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents related to the transition of ClTtraining procedures into the NYPD.

OBJECTION AND RESPONSE TO DOCUMENT REOUEST NO. 8:

               Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request is vague, overboard and

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burdensome. Defendants also object to the extent this request seeks materials protected by the

attorney-client and/or work-product and/or deliberate process and/or law enforcement privileges.

Notwithstanding and without waiving, or in any way limiting these objections or the General

Objections, Defendants refer plaintiffs to their Objection and Response to Interrogatory No. 11

for responsive information regarding the transition of ClT-training procedures into the NYPD.

DOCUMENT REQUEST NO. 9:

                 All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents related to investigations into officer treatnent of EDPs and the results of any such

investigation.

OBJECTION AND RESPONSE T O DOCI]MENT REOIIEST NO. 9:

                 Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request is vague, overboard, not limited in

time and burdensome. Defendants also object to the extent this request seeks materials protected

by the attomey-client and/or work-product and/or deliberate process andlor law enforcement

privileges. Last, Defendants object on the grounds this request implicates the privacy interests of

those concerned, privacy interests of non-parties and to the extent it implicates the sealing

provisions of HIPAA and New York Criminal Procedure Law $$ 160.50, 160.55, and/or New

York Family Court Act $ 375.1.

DOCUMENT REOUEST NO. 10:

                 All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents created in response to the New York City Department of Investigation, Office of the

Inspector General for the NYPD report entitled "Putting Training Into Practice: A Review of

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NYPD's Approach to Handling Interactions with People in Mental Health Crisis" from January

2017.

OBJECTION AND RESPONSE TO DOCUMENT REQUEST NO. 10:

                Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request is vague, overboard and
burdensome. Defendants also object to the extent this request seeks materials protected by the

attorney-client and/or work-product andlor deliberate process andlor law enforcement privileges.

Notwithstanding and without waiving, or in any way limiting these objections or the General

Objections, Defendants state that changes were made to the CIT curriculum in October of 2017.

Defendants further refer plaintiffs to the documents within Bates Nos. DEF 9694 to DEF 12399

that post-date October of 2017 for responsive information. Defendants note, however, that

whether and to what extent those changes were in any way responsive to the report is

information that can be obtained through less burdensome means such as a deposition pursuant

to Rule 30(bX6) of the Federal Rules of Civil Procedure.

DOCIIME,NT            UEST NO. 11:

               All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents regarding post-training assessments of ClT-trained officers.

OBJECTION AND RESPONSE                   DOCUMENT REOUEST NO. 11:

               Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only rernaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident and on the grounds that neither of the Defendants received CIT training. Defendants

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further object to the extent this request is vague, overboard and burdensome. Defendants also

object to the extent this request seeks materials protected by the attorney-client and/or work-

product andlor deliberate process andlor law enforcement privileges.

DOCUMENT REOUEST NO. 12:

               All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents regarding integration of CIT trainings into the entire NYPD.

OBJECTION AND RESPONSE TO DOCUMENT REQUEST NO. 12:

               Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident and on the grounds that neither of the Defendants received CIT training. Defendants

fuither object to the extent this request is vague insofar as it seeks "documents regarding

integration of CIT training," overboard and burdensome. Defendants also object to the extent

this request seeks materials protected by the attomey-client and/or work-product and/or

deliberate process andlor law enforcement privileges.

DOCUMENT REOUEST NO. 13:

               All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents regarding the creation or adoption of a new Patrol Guide provision regarding

procedures related to EDPs.

OBJECTION AND RESPONSE TO DOCUMENT REQUEST NO. 13:

               Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request is vague insofar as it does not

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specify any particular Patrol Guide provision, overboard and burdensome. Defendants also

object to the extent this request seeks materials protected by the attorney-client and/or work-

product and/or deliberate process and/or law enforcement privileges. Notwithstanding and

without waiving, or in any way limiting these objections or the General Objections, Defendants

refer plaintiffs to the documents Bearing Bates Nos. No. DEF 3184 to DEF 8752 and DEF 9694

to DEF 12399.

DOCIIMRNT             UEST NO. 14:

                All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents regarding directing ClT-trained officers to situations involving EDPs or individuals

in a mental health crisis.

OBJECTION AND RESPONSE TO DOCUMENT REOUEST NO. 14:

                Defendants object to the extent this request seeks information that is not relevant

to any claim or defense nor proportional to the needs of the case insofar as the only remaining

claims against the City pertain to an alleged lack of training in place at the time of the underlying

incident. Defendants further object to the extent this request is vague, overboard and
burdensome. Defendants also object to the extent this request seeks materials protected by the

attorney-client and/or work-product and/or deliberate process and/or law enforcement privileges.

DOCUMENT REQUEST NO. 15:

               All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents regarding ClT-trained officers and EDPs or individuals in a mental crisis.

OR.IECTION AND RESPONSE                 DOCUMENT REOUEST NO. 15:

                See Objection and Response to Document Request No. i4




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DOCUMENT REQUEST NO. 16:

               All documents, ESI, reports, interdepartmental memos, e-mails, and/or other
documents the City Defendant intends to or might use at trial of this matter or all documents that

in any way support the City Defendant's defenses in this matter as related to Plaintiffs' Monell

claims.

OBJECTION AND RESPONSE TO DOCUMENT REQUEST NO. 16:

               Without waiving, or in any way limiting the General Objections, Defendants state

that they will follow the applicable Federal Rules of Civil Procedure, Federal Rules of Evidence,

Local Civil Rules and any rules specific to the Court.

Dated:         New York, New York
               March 27,2019


                                                     ZACHARY W. CARTER
                                                     Corporation Counsel
                                                     of the City of New York
                                                     Attorneyfor Defendants City of New York,
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